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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                        EASTERN DIVISION, YOUNGSTOWN


KAYLA BAKER, CHRISTEN DAVIS, NEELY
JACK, WILLIAM JACK, MARIE GORDON-
COONTZ, JOHN JURJAVIC, SHELBY
VOLLNOGLE and DALQAN HOLDINGS,                         Case No. 4:23-cv-324
LLC, individually and on behalf of all others
similarly situated,                                    CLASS ACTION COMPLAINT

                   Plaintiffs,                         JURY TRIAL DEMANDED
         v.

 NORFOLK SOUTHERN CORPORATION,
 NORFOLK SOUTHERN RAILWAY
 COMPANY,

                   Defendants.




                                      INTRODUCTION

         Plaintiffs Kayla Baker, Christen Davis, Neely Jack, William Jack, Marie Gordon-

 Coontz, John Jurjavic, Shelby Vollnogle, and DalQan Holdings, LLC (collectively,

 “Plaintiffs”), individually and on behalf of all others similarly situated, allege the following

 against Defendants Norfolk Southern Corporation and Norfolk Southern Railway

 Company (collective, “Norfolk Southern”), based where applicable on personal

 knowledge, information and belief, and the investigation and research of counsel.

                                 NATURE OF THE ACTION

         1.    On February 3, 2023, at approximately 8:55 p.m., a Norfolk Southern train

 carrying hazardous materials derailed in East Palestine, Ohio, igniting an inferno and

 casting a toxic cloud of poisonous smoke throughout the surrounding area.




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            2.    Before the derailment, a mechanical defect alarm sounded on the eastbound

train. An overheated wheel bearing was failing, and about to lead to the catastrophic

trainwreck. In total, thirty-eight railcars left the tracks and an additional twenty railcars

were damaged, several of which were carrying dangerous industrial materials.

            3.    Damage from the trainwreck caused many of the railcars to breach,

discharging more than a million pounds of hazardous chemicals into the local air, soil,

and water.

            4.    Fire from the wreckage blanketed the area in billowing smoke.




       Photo credit: Courtney Kevin Csernik

            5.    To make matters worse, heat from the blaze increased pressure inside gas-

filled railcars, posing the risk of a deadly explosion. This lead Norfolk Southern to “vent

and burn” vinyl chloride, a powerful cancer-causing gas, from five railcars.

            6.    Norfolk Southern diverted the vinyl chloride into a hastily excavated trench

where it set the chemical ablaze. The fire raged for days, covering local properties in a

large plume of thick black smoke and dispersing toxic chemicals for miles. The black




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smoke billowed into neighborhoods where Plaintiffs and thousands of people live and

work, causing widespread anxiety, panic, and fear about potentially dire health

consequences.




                  Photo credit: Melissa Smith

            7.    Prolonged exposure to the hazardous fumes and thick smoke forced

Plaintiffs and Class members to sequester themselves inside their homes or to abandon

their homes and relocate away from the spread of toxic pollutants.




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            8.    The toxic plume poisoned livestock and crops, and shut down local

businesses as residents either evacuated or stayed locked inside their homes.

            9.    The spread of toxic pollutants from the trainwreck likewise caused physical

injury to Plaintiffs’ properties, and interfered with Plaintiffs’ ability to use and enjoy their

properties. Plaintiffs and Class members continue to live in the shadow of the toxic

trainwreck and toxic burn. Hazardous chemicals continue to seep through soils,

contaminating groundwater and surrounding properties. These properties have suffered

and continue to suffer a diminution in value by virtue of their proximity to site of the

trainwreck, and the stigma associated with being located so near the environmental

disaster.

            10.   As a result, Plaintiffs and the Class members suffer and will continue to

suffer damages, including decreased property values, damage to their real and personal

property, lost wages, loss of business income, and loss of business goodwill.

            11.   This lawsuit is brought to recover these and other damages by residential

property owners and lessees and businesses in close proximity to the trainwreck.

Plaintiffs also seek injunctive and equitable relief, including testing and cleaning

protocols to abate the toxic discharges, as well as the creation of a fund to finance medical

monitoring services to screen, prevent, and treat injuries caused by exposure to Norfolk

Southern’s toxic discharges.

                                        THE PARTIES

A.          Plaintiffs

            12.   Plaintiff Kayla Baker is a resident and citizen of the State of Ohio,

Columbiana County. Ms. Baker owns residential property in East Palestine, Ohio, and is

a member of and seeks to represent the Residential Property Class.



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            13.   Plaintiff Christen Davis is a resident and citizen of the State of Ohio,

Columbiana County. Ms. Davis owns residential property in East Palestine, Ohio, and is

a member of and seeks to represent the Residential Property Class.

            14.   Plaintiff Neely Jack is a resident and citizen of the State of Ohio,

Columbiana County. Ms. Jack leases residential property in East Palestine, Ohio, and is a

member of and seeks to represent the Residential Property Class.

            15.   Plaintiff William Jack is a resident and citizen of the State of Ohio,

Columbiana County. Mr. Jack leases residential property in East Palestine, Ohio, and is a

member of and seeks to represent the Residential Property Class.

            16.   Plaintiff Marie Gordon-Coontz is a resident and citizen of the State of Ohio,

Columbiana County. Ms. Gordon-Coontz owns residential property in East Palestine,

Ohio, and is a member of and seeks to represent the Property Class.

            17.   Plaintiff John Jurjavic is a resident and citizen of the State of Ohio,

Columbiana County. Mr. Jurjavic owns residential property in East Palestine, Ohio, and

is a member of and seeks to represent the Residential Property Class.

            18.   Plaintiff Shelby Vollnogle is a resident and citizen of the State of Ohio,

Columbiana County. Mr. Vollnogle owns residential property in East Palestine, Ohio, and

is a member of and seeks to represent the Residential Property Class

            19.   Plaintiff DalQan Holdings, LLC is an Ohio limited liability company doing

business in East Palestine, Ohio. DalQan Holdings LLC operates a Dairy Queen franchise

at 262 S. Market St., East Palestine, Ohio. DalQan Holdings, LLC is a member of and seeks

to represent the Business Class.




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B.          Defendants

            20.   Defendant Norfolk Southern Corporation (“NSC”) is a corporation formed

in Virginia with its headquarters and principal place of business in Atlanta, Georgia.

            21.   Defendant Norfolk Southern Railway Company (“NSRC”) is a wholly owned

subsidiary of NSC. NSRC is a Class I railroad corporation formed in Virginia with its

headquarters and principal place of business in Atlanta, Georgia.

            22.   Upon information and belief, NSRC has consistently held itself out as

conducting business affairs as a conduit for NSC in connection with the ownership and

operation of their railway enterprise. Additionally, NSC and NSRC constituted a joint

venture in connection with their railway enterprise inasmuch as they agreed to undertake

ownership and operation of the enterprise jointly for the purpose of sharing associated

profits and losses, and in connection therewith, each contributed their respective skills,

property or resources in exercising control or right of control over the facilities.

            23.   Defendants are referred to collectively as “Norfolk Southern” throughout

this complaint.

            24.   Norfolk Southern is one of the Country’s largest railway operators. It serves

every major container port in the eastern United States and operates approximately

19,300 route miles across 22 states and the District of Columbia, including 2,402 route

miles within Pennsylvania alone.

                                JURISDICTION AND VENUE

            25.   This Court has jurisdiction over this action under the Class Action Fairness

Act (CAFA), 28 U.S.C. § 1332(d), because at least one class member is of diverse

citizenship from one defendant; there are more than 100 Class members; and the

aggregate amount in controversy exceeds $5 million, exclusive of interest and costs.



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            26.   This Court has jurisdiction over Norfolk Southern because Norfolk

Southern systematically transacts and conducts business in Ohio, including by

transporting hazardous materials by train, from which it derives substantial revenue.

Norfolk Southern expected, or should have expected, that its acts would have

consequences within Ohio. Norfolk Southern committed the tortious acts complained of

herein in this State that caused injuries within this State.

            27.   Venue is proper in this District under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred and/or

emanated from this District, and because Norfolk Southern has caused harm to Class

members residing in this District.

                                  FACTUAL ALLEGATIONS

A.          The trainwreck and massive chemical discharge

            28.   On Friday February 3, 2023, at approximately 8:55 p.m., Norfolk Southern

Freight Train 32N derailed and crashed in East Palestine, Ohio (Latitude: 40.8360864°N,

Longitude: -80.5215884°W) (the “derailment site”).

            29.   Prior to the wreck, the 141-car train was traveling from Madison, Illinois en

route to Conway, Pennsylvania. Twenty of the train’s railcars were carrying hazardous

industrial materials, including:

                  a.     Vinyl chloride: a colorless flammable gas that is manufactured for

            commercial purposes, primarily to make PVC pipe. Vinyl chloride is classified as a

            Group A human carcinogen (i.e., the deadliest). Short-term exposure to vinyl

            chloride causes dizziness, drowsiness, nausea, and headaches. Prolonged exposure

            can cause organ damage and numerous forms of cancer, including rare liver

            cancers. There is no known safe level of exposure to vinyl chloride and long-term



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            health effects may not manifest as a clinical cancer diagnoses for years following

            initial exposure.

                   b.     Butyl acrylate: a clear colorless liquid with a sharp characteristic

            odor. It is used to manufacture paints, sealants, and adhesives. Exposure can cause

            irritation of the eyes, skin, and upper respiratory system.

                   c.     Ethylhexyl acrylate: a colorless liquid used in making paints and

            plastics. When inhaled or absorbed through the skin, it can irritate and burn the

            skin, eyes, nose, throat, and lungs and cause dizziness, nausea, drowsiness, and

            headache.

                   d.     Isobutylene: a colorless, highly flammable gas. Inhalation can cause

            dizziness, drowsiness, and unconsciousness. Contact with skin or eyes can cause

            irritation.

                   e.     Ethylene glycol monobutyl ether: a colorless, toxic, flammable liquid

            used to make paints and varnish. Its vapors are heavier than air and will spread

            along the ground and collect in low or confined areas such as sewers and

            basements. Inhalation may irritate the eyes and nose. Contact with the skin causes

            headache, nausea, vomiting, and dizziness.

                   f.     Diethylene glycol: a colorless, odorless, toxic liquid used to make

            anti-freeze, brake fluids, wallpaper strippers, and as a plasticizer. Ingestion causes

            abdominal pain, nausea, vomiting, diarrhea, drowsiness, confusion, and

            unconsciousness.

                   g.     Hydrogen sulfide: a colorless gas with a pungent odor. It is extremely

            flammable and highly toxic. Effects of exposure range from headaches and eye

            irritation to unconsciousness and death.



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                  h.     Hydrogen cyanide: a colorless, poisonous, flammable liquid used in

            mining and plastics. Exposure interferes with the body’s use of oxygen and may

            cause harm to the brain, heart, blood vessels, and lungs.

                  i.     Benzene: a colorless or light-yellow liquid used as a solvent and

            found in industrial emissions and gasoline fumes. Exposure to benzene causes

            drowsiness, dizziness, irregular heartbeat, confusion, vomiting. Benzene is

            classified as a Group A human carcinogen (i.e., the deadliest). Exposure to benzene

            increases the risk of developing acute myeloid leukemia and other blood and bone

            marrow cancers.

            30.   Despite the serious risks posed by the dangerous materials on board,

Norfolk Southern failed to take appropriate care when loading the train. Instead, Norfolk

Southern back loaded the train with 40% of its weight at the rear. Lighter cars were loaded

between the heavy rear tankers and the front engine. This poor railcar placement created

accordion or wave-like stress on the train and its axles.

            31.   Approximately 40 minutes before it derailed, an overheated wheel bearing

sparked and the train caught fire. The train traveled ablaze through Salem, Ohio

(approximately 20 miles west of the derailment site) toward East Palestine.

            32.   As the train approached East Palestine, an alarm from a wayside defect

detector alerted the train crew to the mechanical issue. The train crew applied the

emergency brake and the train derailed. Thirty-eight of the train’s 141 cars came off the

tracks. An additional 20 cars were damaged.

            33.   Several of the damaged railcars breached, spilling approximately 688,000

pounds of polyvinyl, 273,394 pounds of ethylhexyl acrylate, 273,394 pounds of ethylene




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glycol monobutyl ether, and 206,000 pounds of butyl acrylates, and 500,000 pounds of

petroleum, and igniting a massive chemical fire.

            34.   On the day of the trainwreck, the fire was large enough to be detected by the

Pittsburgh, Pennsylvania weather radar for several hours. The fire appeared to reach its

peak intensity around 10:40 p.m., when brighter colors appeared on radar and the smoke

plume had traveled more than 15 miles southeast of East Palestine.

            35.   The radar also detected a value of 31.5 decibels at 10:40 p.m., which is the

equivalent of moderate rain/snow. The smoke plume was blown to the south and east due

to a northwest wind that was blowing over the fire, traveling nearly twenty miles east into

Pennsylvania.

            36.   Aerial surveillance showed an entanglement of rail cars with fires still

burning and heavy smoke continuing to billow from the scene, discharging a toxic soup

of chemicals into the surrounding communities’ air, water, and soil.

B.          Norfolk Southern’s million-pound chemical burn pit

            37.   As the pile of burning wreckage continued to blaze, and Norfolk Southern

failed to extinguish the fire, concern began to mount that the vinyl chloride railcars would

explode. If the railcar exploded, deadly shrapnel could travel up to a mile or more.

            38.   Heat from the fire increased pressure inside the vinyl chloride railcars,

activating the railcars’ emergency relief valves design to vent vinyl chloride to the

atmosphere and relieve pressure under emergency conditions. However, at least one of

the emergency relief valves failed, spiking pressure and temperatures inside the railcar,

and risking imminent explosion. Residents within a one-mile radius of the derailment site

were told to immediately evacuate due to the deadly risk of explosion.




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            39.   With the emergency release valve failing, Norfolk Southern decided to “vent

and burn” the vinyl chloride. Norfolk Southern released the growing pressure by piercing

holes in the five vinyl chloride railcars, discharging 1,109,400 pounds of cancer-causing

vinyl chloride into the environment. For context, the total vinyl chloride emissions across

the entire U.S. in 2021 was 428,522 pounds—Norfolk Southern discharged more than

twice as much vinyl chloride in connection with this incident.

            40.   Norfolk Southern diverted the toxic discharge into a hastily excavated

trench where it then burned off the vinyl chloride by setting it ablaze. The chemical burn

pit burned for days, covering Plaintiffs, Class members, and their properties in a large

plume of thick black smoke and dispersing toxic chemicals for miles.

            41.   On Monday, February 6, Ohio Governor Mike DeWine and Pennsylvania

Governor Josh Shapiro jointly issued an evacuation order for residents within one-mile-

by-two-mile area surrounding the trainwreck. The evacuation order advised that “law

enforcement in both states are currently working to ensure that all individuals have left

the vicinity” before Norfolk Southern’s vent and burn. Evacuated residents were not

permitted to return to home until February 8.

            42.   Residents of surrounding communities outside of the evacuation zone were

advised to shelter in place during the vinyl chloride vent and burn.

            43.   Burning vinyl chloride poses major issues—namely, it creates phosgene, a

highly poisonous gas used as a choking agent in World War I. Phosgene gas is banned as

a chemical warfare agent under the Geneva Convention.

            44.   Burning vinyl chloride also releases hydrogen chloride, an extremely

unstable compound that bonds with water in the atmosphere to form hydrochloric acid.




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Norfolk Southern’s vent and burn discharged hundreds of thousands of pounds of

hydrogen chloride into the air, risking the downpour of a highly corrosive acid rain.

            45.   Compounding the hazard, an inversion layer at around 3,000 feet trapped

smoke from the vent and burn in the atmosphere. As a result, the toxic gases began to

spread out horizontally in a thick cloud. As residents sheltered in place, the winds shifted,

blowing the noxious plume of poison up to thirty miles north of the trainwreck. 1

            46.   The following photo of the smoke from the vent and burn was taken on

February 6, 2023 from approximately eight miles away. It shows the inversion layer

trapping the toxic smoke.




Photo credit: John Jurjavic


1See, Stan Boney interview with Mahoning County Commissioner Anthony Traficanti, WKBN-27 News
(Feb. 6, 2023) (“The winds have shifted and they’re blowing the plume more toward our area, Springfield
Township, Poland, and Boardman… This thing is not going away yet and it’s very toxic”) (available at
https://www.wkbn.com/news/local-news/east-palestine-train-derailment/shelter-in-place-officials-
advising-valley-residents-stay-indoors/) (last accessed Feb. 15, 2023); see also Paul Wetzl, Wind direction
through today for East Palestine, Ohio, WKBN-27 (Feb. 6, 2023) (reporting southwest wind for February
6)    (available at      https://www.wkbn.com/news/local-news/east-palestine-train-derailment/wind-
direction-through-tonight-for-east-palestine-ohio/) (last accessed Feb. 15, 2023).



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C.          Norfolk Southern’s failure to contain the toxic spill.

            47.    Despite the immediate dangers posed by the highly toxic chemicals spewing

from the wreckage, Norfolk Southern failed to immediately report the trainwreck as

required by federal law.2 Failure to timely report subjects Norfolk Southern to criminal

penalty.3 Norfolk Southern did not report the trainwreck to federal authorities until

approximately 10:53 p.m., nearly two hours after the wreck.

            48.    As federal, state, and local emergency response teams arrived, Norfolk

Southern continued to leave authorities in the dark. Norfolk Southern isolated itself from

response teams and conducted its own operational and tactical planning, without key

input from federal, state, and local agencies. Confusion abounded as authorities were

forced to react to Norfolk Southern’s unilateral decisions.

            49.    Adding to the confusion, Norfolk Southern failed to provide first responders

with key information about the chemicals onboard the wrecked train. This failure left first

responders unable to determine how to safely extinguish the fire while it grew out of

control.

            50.    Norfolk Southern further failed to notify state and local response agencies

initially of its intention to vent and burn all five vinyl chloride-containing railcars, rather

than just a single railcar as Norfolk Southern identified originally. Moreover, to justify the

vent and burn, Norfolk Southern provided authorities with inaccurate information and

conflicting modeling about the impact of the proposed vent and burn. Norfolk Southern

likewise failed to provide authorities with accurate information about the number of

railcars that contained dangerous chemicals. Without accurate information, authorities


2   See 49 C.F.R. § 225.9(a)(2)(iv).
3   See 49 C.F.R. § 225.29.



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could not make fully informed decisions or take appropriate protective action to prevent

or mitigate the devastating consequences of burning more than 1,000,000 pounds of vinyl

chloride.

            51.   Motivated by a desire to re-open the rail line as quickly as possible, Norfolk

Southern failed to explore or articulate alternative courses of action to its proposed vent-

and-burn plan. This limited the ability of federal, state, and local authorities to respond

and take action to prevent such drastic measures. If they had not been left in the dark,

emergency response leaders and responsible governmental authorities could have

explored alternative courses of action, including some that may have kept the rail line

closed longer but could have resulted in a safer overall approach.

            52.   The vent-and-burn strategy allowed Norfolk Railway to reopen on February

8, 2023, a mere five days after the catastrophic trainwreck. But while the railway got up

and running, Norfolk Southern stalled cleanup efforts. In order to reconstruct the rail

line, Norfolk Southern simply covered and filled contaminated soil, including portions of

the burn pit used for the vinyl chloride vent and burn. Norfolk Southern has also failed to

otherwise complete removing contaminated soil from the site of the trainwreck.

            53.   Acting swiftly to remove all soil that has come into contact with hazardous

chemicals is key to cleaning up spill sites and critical to prevent hazardous materials from

contaminating surface and groundwater. By failing to act quickly to contain the spill,

Norfolk Southern exposed Plaintiffs and the Class members to far greater harm.

D.          The catastrophic consequences of Norfolk Southern’s failure to take
            proper precautionary and remedial action

            54.   The disastrous impact of the trainwreck is rapidly coming into view.

Plaintiffs and Class members continue to suffer from exposure to gases, chemicals,




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pollutants, and contaminants from Norfolk Southern’s trainwreck and fires. These

chemicals are associated with short-term acute health symptoms, longer-term health

risks, and potentially hazardous chemical reactions.

            55.   Fumes, sediment, and a rise in particulate pollution from the toxic spill and

fires have been reported throughout a 30-mile area surrounding the site of the trainwreck.

            56.   For example, the EPA particulate pollution monitor in Youngstown, Ohio,

more than 23 miles from the derailment site, registered at more than triple the normal

amount of ambient particulate matter on February 6, 2023. As the days went on, these

troubling numbers continued to rise. On February 9, the particulate levels in Youngstown,

Ohio were fully five times higher than they were prior to February 6.

            57.   The toxic discharge also contaminated the local groundwater. The EPA

detected hazardous materials released from the train in samples from local streams and

rivers, including the Ohio River, which provides drinking for more than five million

people. The hazardous materials were likewise observed entering storm drains. Oily

product was found leaking from the wreckage and pooling in the nearby soil.

            58.   Authorities are advising local residents to drink only bottled water,

especially if their water is from a private source, such as a well.

            59.   Ohio’s Department of Natural Resources preliminarily estimates that 3,500

fish across 12 species were killed by the derailment and spillage. Pets and livestock have

reportedly been sickened by the toxic fumes and contaminated water.

            60.   Many of the hazardous materials discharged from the train are resistant to

degradation in the environment, meaning contaminated soil will continue to leech

pollutants, both up into the air and down into the surrounding groundwater, and cleanup

and monitoring of the area could take years.



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            61.   Vinyl chloride is especially persistent in the environment. If vinyl chloride

contaminates a water supply, it can enter household air when water is used for showering,

cooking, or laundry.

            62.   Even as these hazardous gases evaporate, their dangers persist. Every time

it rains, a flood of new contaminants will enter the local ecosystem. Just one pound of

vinyl chloride released into the atmosphere can contaminate five acres of land with

hazardous concentration levels. Norfolk Southern discharged over 1,000,000 pounds

of vinyl chloride, meaning the potential geographic reach of this toxic discharge extends

for hundreds, if not thousands, of miles.

E.          Norfolk Southern’s history of safety violations and putting profits over
            people

            63.   As Ohio and Pennsylvania residents face the devastating impacts of the

trainwreck, Norfolk Southern collects record profits. According to its 2022 proxy

statement, between 2019 and 2021, Norfolk Southern’s board approved cumulative

shareholder distributions of nearly $10 billion. 4 And in 2021, Norfolk Southern “grew

revenue 14% over 2020 results, resulting in record income from railway operations of

$4.45 billion.” 5

            64.   Norfolk Southern has achieved these record profits by cutting corners and

sacrificing safety. In its 2021 Annual Report, Norfolk Southern boasted about cramming




4 See Norfolk Southern, Notice of the Annual Meeting of Shareholders and Proxy Statement (2022)

(available at http://www.nscorp.com/content/nscorp/en/investor-relations/financial-reports/proxy-
statements/2022-proxy-statement/_jcr_content/mainpar/download/file.res/nsc_proxy_2022.pdf) (last
accessed Feb. 16, 2023).
5      See       Norfolk     Southern,         Annual        Report (2021)     (available      at
http://www.nscorp.com/content/dam/nscorp/get-to-know-ns/investor-relations/annual-
reports/annual-report-2021.pdf) (last accessed Feb. 16, 2023)



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railcars on its tracks in order to grow shareholder returns. 6 Indeed, Norfolk Southern’s

failure to take safety seriously is borne out by its poor track record.

            65.   Norfolk Southern is no stranger to train derailments. According to the

Federal Railroad Administration, Norfolk Southern is responsible for more recent train

derailments in Ohio and Pennsylvania than any other railroad company. From 2019

through 2022, for example, Norfolk Southern trains derailed 67 times in Ohio. During

that same time frame, 74 Norfolk Southern trains derailed in Pennsylvania (89.2% of all

derailments in Pennsylvania).

            66.   Nor is this the first Norfolk Southern derailment to cause an environmental

disaster. On January 6, 2005, a Norfolk Southern train derailed in Graniteville, South

Carolina, discharging chlorine and diesel fuel into nearby waterways. In addition, a toxic

cloud covered the city, causing mass evacuations. Local wildlife was killed, along with the

contaminated local crops and vegetation. Tragically, the Graniteville derailment caused

thousands of injuries and nine deaths.

            67.   Despite its dubious safety record, Norfolk Southern’s shipments of

hazardous materials has steadily increased since 2015.7 All the while, Norfolk Southern

has resisted basic safety regulations aimed at protecting lives and the environment.

Instead, Norfolk Southern has argued against simple measures like adopting modern

braking systems, using stronger tank cars for explosive materials, and providing

information on what hazardous material are on board its trains, claiming such measures

would be cost prohibitive.



6Id.
7  See SEC correspondence (available at https://www.sec.gov/divisions/corpfin/cf-noaction/14a-
8/2017/friendsfiduciary011717-14a8.pdf) (last accessed Feb. 15, 2023).



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            68.   Norfolk Southern has even ignored calls from within to bolster its safety

efforts. In 2017, Norfolk Southern blocked a shareholder initiative requesting its board of

directors “issue a report describing current company efforts to assess, review, and

mitigate risks of hazardous material transportation[.]” 8 Norfolk Southern dismissed the

initiative as an attempt to “‘micro-manage’ the company by probing too deeply into

matters of a complex nature upon which shareholders, as a group, would not be in a

position to make an informed judgment.” 9

            69.   Had Norfolk Southern heeded its shareholders’ warning and taken efforts

to improve the company’s safety measures, this disaster could have been avoided.

                                     PLAINTIFFS’ FACTS

F.          Residential Property Class Representatives

            70.   Plaintiff Kayla Baker owns a home in East Palestine, Ohio, where she resides

with her husband and three small children. As a result of the chemical spill and toxic

plume invading their property, she and her family lost the use and enjoyment of their

property. Ms. Baker and her family live within the evacuation zone and were ordered to

evacuate as a huge cloud of smoke invaded their home. Ms. Baker and her children were

displaced from their home for ten days, from February 3 until February 13. Since

returning, she has noticed a chemical smell emanating from her tap water, which comes

from the city water supply. She hired a professional cleaning company to rid her home of

toxic residue from the trainwreck. Her property has suffered a stigma and diminution in

value from Norfolk Southern’s toxic discharge. Ms. Baker is a member of and seeks to

represent the Residential Property Class.


8   Id.
9   Id.



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            71.   Plaintiff Christen Davis is a resident of East Palestine, Ohio and owns a

home there. As a result of the chemical spill and toxic plume invading her property, she

lost the use and enjoyment of her property. She lives approximately one mile from the

train derailment and evacuated to escape Norfolk Southern’s toxic discharge. She fled her

home as the thick black smoke cloud approached her property. She’s experienced

persistent congestion and malaise, as well as a lingering headache since being exposed to

Norfolk Southern’s toxic discharge. Her property has suffered a stigma and diminution in

value from Norfolk Southern’s toxic discharge. Ms. Davis is a member of and seeks to

represent the Residential Property Class.

            72.   Plaintiffs Neely and William Jack are residents of East Palestine, Ohio and

lease a home there. As a result of the chemical spill and toxic plume invading their

residence, they lost the use and enjoyment of their home. Neely and her husband William

live within the evacuation zone, less than one mile from the train derailment. The pair

fled on Sunday February, 5, as the toxic gas and smoke invaded their home. Forced out of

their home, they stayed at a Holiday Inn until returning on Wednesday, February 8. The

McDonald’s at which Neely works closed for a week, leaving Neely without pay. Since

returning, the Jacks have noticed a foul sulfur-like stench emanating from their tap water,

which is supplied through the public water system. Gas and smoke from the trainwreck

has left the Jacks’ home with a pungent stench that continues to linger. The Jacks are

fearful of the potential health consequences of living so close to the toxic discharge,

especially as the noxious smells persist. The Jacks are members of and seek to represent

the Residential Property Class.

            73.   Plaintiff Marie Gordon-Coontz is a resident of East Palestine, Ohio and

owns a home there. Ms. Gordon-Coontz works as a network security representative for a



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bank. She lives in East Palestine with her young daughter as well as several pets. As a

result of the chemical spill and toxic plume invading her property, she lost the use and

enjoyment of her property. She and daughter live within two miles of the train derailment

and were subject to the shelter-in-place order. As she and her daughter sheltered, she

witnessed a black mushroom cloud of smoke and toxic plume cover her property. Her

property has suffered a stigma and diminution in value from Norfolk Southern’s toxic

discharge. Ms. Gordon-Coontz is a member of and seeks to represent the Residential

Property Class.

            74.   Plaintiff John Jurjavic is a resident of East Palestine, Ohio, and owns a

home there. As a result of the chemical spill and toxic plume invading his property, he

lost the use and enjoyment of his property. Mr. Jurjavic lives just over 2 miles from the

train derailment, and evacuated to escape the plume of toxic smoke and gas it invaded his

property. He observed chemical residue in nearby steams. His property has suffered a

stigma and diminution in value from Norfolk Southern’s toxic discharge. Mr. Jurjavic is

a member of and seeks to represent the Residential Property Class.

            75.   Plaintiff Shelby Vollnogle is a resident of East Palestine, Ohio, and owns a

home within 200 yards of the trainwreck. As a result of the chemical spill and toxic plume

invading his property, he lost the use and enjoyment of his property. Mr. Vollnogle was

ordered to evacuate and was displaced from his home from February 5 until February 10.

His property has suffered a stigma and diminution in value from Norfolk Southern’s toxic

discharge. He was working with a realtor on listing and selling his home before the

trainwreck. Stigma from the wreck leaves him with no market for his home. Mr. Vollnogle

is a member of and seeks to represent the Residential Property Class.




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            76.   As a direct and proximate result of Norfolk Southern’s acts and omissions

that led to the trainwreck and its resulting toxic discharge, Plaintiffs have suffered

damages, including physical injury to property, loss of use and enjoyment of property,

diminution in property values, and restrictions of their freedom of movement due to

evacuation and shelter-in-place orders.

G.          Business Class Representative

            77.   Plaintiff DalQan Holdings, LLC (“DalQan”) operates a Dairy Queen within

the evacuation zone at 262 S. Market St., East Palestine, Ohio. Because of Norfolk

Southern’s toxic discharges, gas, smoke, and dust from the trainwreck invaded the Dairy

Queen, leaving a film of dust on surfaces outside and within the Dairy Queen, requiring

substantial efforts to clean. DalQan was forced to close its Dairy Queen on Saturday,

February 4—the day after the trainwreck—while smoke and gas covered the property.

DalQan attempted to operate on Sunday, February 5, but was forced to close early.

DalQan then had to close the Dairy Queen for three more days on February 6–8 due to

the evacuation order. Since reopening on February 9, some employees have refused to

return to work out of concern over the air quality onsite. Moreover, the Dairy Queen relies

on regular customers and foot-traffic to avoid economic losses associated with discarding

unpurchased, expired food items. Because of Norfolk Southern’s toxic discharges, the

Dairy Queen has experienced a dramatic reduction in customers and foot traffic.

            78.   Norfolk Southern’s actions, inactions, and/or omissions has caused present

injury to DalQan, including physical injury to property and un-recouped business

expenses, as well as loss of revenue, income, and profits. Plaintiff DalQan is a member of

and seeks to represent the Business Class.




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                                   CLASS ALLEGATIONS

            79.   Plaintiffs bring claims under Federal Rule of Civil Procedure 23 on behalf of

classes of similarly situated persons. Plaintiffs initially propose two classes, as defined

below:

                  All individuals who resided in, leased, or owned
                  property any part of which is within a 30-mile radius
                  of the derailment site as of February 3, 2023
                  (“Residential Property Class”).
                  All individuals and entities who owned and operated
                  a business, commercial property, or farmland within
                  a 30-mile radius of the derailment site as of February
                  3, 2023 (“Business Class”)




Fig. 1: The Class Zone is represented by a radius of 30 miles emanating from the
derailment, fire, and explosion site.

            80.   Excluded from the Classes are: (1) Defendants and any of their affiliates,

parents or subsidiaries; all employees of Defendants; all persons who make a timely

election to be excluded from the Class; government entities; and the judges assigned to




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this case, their immediate families, and court staff; and (2) insurers and insurance

syndicates whose claims for damages regarding the February 3, 2023 trainwreck and

resulting toxic spill, arise out of subrogation (equitable, contractual, or otherwise).

            81.   Also excluded from the Classes are any claims of physical manifestation of

personal or bodily injury.

            82.   Plaintiffs reserve the right to propose additional or more refined classes of

Plaintiffs in connection with their Motion for Class Certification, and as determined by

the Court in its discretion.

            83.   The Classes plainly satisfy the requirements of Rule 23(a) and Rule 23(b)

and there are no interclass conflicts.

            84.   Ascertainability: The number and identity of Class members can be easily

ascertained. The proposed classes include residents and businesses within distinct

geographic boundary, whose persons and property were wrongfully exposed to vinyl

chloride and other toxic chemicals. The Class members may be identified by property

records and other public records and may be notified of this action through standard

methods.

            85.   Numerosity: The members of the Classes are so numerous that joinder of

all members is impractical. The proposed Classes likely contain thousands of members.

            86.   Commonality: There are common questions of law and fact that

predominate over any questions affecting only individual members of the Classes.

            87.   For Plaintiffs and the Classes, the common legal and factual questions

include, but are not limited to, the following:

                  a.      Whether Norfolk Southern’s acts and omissions caused the

            trainwreck;



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                  b.      Whether Norfolk Southern’s acts and omissions caused the dispersal

            of toxic chemicals and contaminated the surrounding air, water, and soil;

                  c.      Whether Norfolk Southern’s acts and omissions caused the

            evacuation orders;

                  d.      Whether Norfolk Southern’s act and omissions caused the shelter-

            in-place advisories;

                  e.      Whether Norfolk Southern’s acts and omissions caused property

            values to diminish in the affected geographic region;

                  f.      Whether property damages have occurred to homes, business, and

            farmland in the affected geographic region;

                  g.      Whether Norfolk Southern’s acts and omissions caused Class

            members to incur expenses for displacement from their homes, jobs, and

            businesses;

                  h.      Whether Norfolk Southern’s acts and omissions have created a

            public or private nuisance;

                  i.      Whether Norfolk Southern’s acts and omissions caused a trespass to

            residential, commercial, or agricultural property;

                  j.      Whether    Norfolk    Southern’s   acts   and   omissions     caused

            inconvenience to the Class members by disrupting their daily lives;

                  k.      Whether Norfolk Southern breached its duties in transporting

            ultrahazardous materials;

                  l.      Whether Plaintiffs and the Class are entitled to medical monitoring

            to facilitate early detection of diseases known to be associated with the toxic




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            chemicals released into the air, water, and soil as a result of Norfolk Southern’s

            acts and omissions;

                  m.     Whether Norfolk Southern is liable to Plaintiffs and the Class

            members for punitive damages resulting from the trainwreck and its aftermath;

            and

                  n.     Whether Plaintiffs and the Class members are entitled to relief.

            88.   Typicality: The representative Plaintiffs’ claims are typical of the claims of

the members of the Classes. Plaintiffs and all the members of the Classes have been

injured by Norfolk Southern’s same wrongful acts and omissions. Plaintiffs’ claims arise

from the same practices and course of conduct that give rise to the claims of the members

of the Classes, and are based on the same legal theories.

            89.   Adequacy of Representation: Plaintiffs are representatives who will

fully and adequately assert and protect the interests of the Classes, and have retained class

counsel who are experienced and qualified in prosecuting class actions. Neither Plaintiffs

nor their attorneys have any interests contrary to or in conflict with the Classes.

            90.   Rule 23(b)(2): In addition to satisfying the prerequisites of Rule 23(a),

Plaintiffs satisfy the requirements for maintaining a class action under Rule 23(b)(2).

Norfolk Southern has acted and failed to act on grounds generally applicable to Plaintiffs

and the Classes and that require court imposition of uniform relief to ensure compatible

standards of conduct toward the Classes, thereby making appropriate equitable relief to

the Classes as a whole within the meaning of Rules 23(b)(2).

            91.   Rule 23(b)(3): In addition to satisfying the prerequisites of Rule 23(a),

Plaintiffs satisfy the requirements for maintaining a class action under Rule 23(b)(3).

Common questions of law and fact predominate over any questions affecting only



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individual members of the Classes, and a class action is superior to individual litigation.

The amount of damages available to most individual plaintiffs is insufficient to make

litigation addressing Norfolk Southern’s conduct economically feasible in the absence of

the class action procedure. Individualized litigation also presents the potential for

inconsistent or contradictory judgments, and increases the delay and expense to all

parties and the court system presented by the legal and factual issues of the case. By

contrast, the class action device presents far fewer case management difficulties and

provides the benefits of a single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                     CLAIMS FOR RELIEF

                                      Claim 1: Negligence

            92.   Plaintiffs restate and incorporate by reference the preceding paragraphs as

if fully set forth herein.

            93.   Under federal and state law, Norfolk Southern had a duty to use reasonable

care to conduct its operations in transporting hazardous and toxic chemicals, including,

but not limited to, the following duties:

                  a.     Operating, maintaining, inspecting, and/or repairing the railway and

            railcars to ensure their safety and proper operation;

                  b.     Ensuring alarms and other systems for monitoring malfunctions of

            the railway to prevent derailments;

                  c.     Ensuring proper safety procedures in the event of a mechanical

            malfunction of equipment;

                  d.     Ensuring proper mechanism(s) for stopping malfunctioning railcars

            without derailment;



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                   e.      Avoiding overloading the train with excessive railcars or materials;

                   f.      Loading the railcars consistent with accepted practice;

                   g.      Loading the railcars to avoid placements of heavier cars in the rear,

            with particular consideration to whether the planned route is downhill;

                   h.      Having an adequate number of staff on board for purposes of

            planning, coordinating, overseeing, and monitoring transport;

                   i.      Hiring, training, managing, and supervising agents and employees

            (including the train engineer and dispatcher operating the Freight Train at the time

            of the trainwreck);

                   j.      Properly determining the qualifications and capabilities of agents

            and employees (including the train engineer and dispatcher operating the Freight

            Train at the time of the trainwreck);

                   k.      Properly determining the adequacy and skill of agents and employees

            (including the train engineer and dispatcher operating the train at the time of the

            trainwreck);

                   l.      Ensuring that agents and employees (including the train engineer

            and dispatcher operating the train at the time of the trainwreck) were properly and

            adequately instructed and trained;

                   m.      Properly instructing and adequately training agents and employees

            (including the train engineer and dispatcher operating the train at the time of the

            trainwreck) concerning safety and emergency procedures in the event of a possible

            derailment;

                   n.      Routing railcars to avoid populated areas in order to minimize the

            risk of accidental exposure to hazardous materials;



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                   o.       Adequately warning those in danger of exposure to hazardous

            materials;

                   p.       Instituting proper procedures and training for response to

            mechanical malfunction of a railcar;

                   q.       Instituting proper procedures and alarms to identify and address fire

            on a railcar;

                   r.       Instituting proper procedures and training to deploy the emergency

            brake in the event of a mechanical malfunction;

                   s.       Instituting proper procedures and training to deploy the emergency

            brake in the event of a fire on a railcar;

                   t.       Instituting proper procedures and training for response to

            derailment;

                   u.       Instituting proper procedures for timely notifying governmental

            authorities of a derailment;

                   v.       Instituting proper procedures in the event of a derailment to avoid

            exposing the environment to hazardous materials;

                   w.       Timely implementing an emergency-response plan in the event of a

            derailment;

                   x.       Transporting and handling dangerous chemicals so as not to cause

            harm to Plaintiffs, as Plaintiffs were foreseeable victims located within the zone of

            danger of Norfolk Southern’s conduct;

                   y.       Properly disposing of or otherwise eliminating the hazardous

            materials from the derailment site, including avoiding the use of techniques that




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            further exposed Plaintiffs and the Class members to phosgene and hydrogen

            chloride during a vent and burn of vinyl chloride;

                  z.     Timely evacuating an appropriate geographic region to avoid

            exposing individuals to toxic substances and causing injury;

                  aa.    Accurately advising of the risk of catastrophic injury and illness from

            exposure to hazardous chemicals to persons at risk of exposure (both inside and

            outside the actual evacuation zone);

                  bb.    Containing the spread of hazardous chemicals and by-products—

            including vinyl chloride, butyl acetate, benzene, phosgene, hydrogen chloride, and

            other combustible liquids—into the air, water, and soil; and

                  cc.    Investigating the causes of its disproportionate number of

            derailments relative to its competitors and implementing appropriate remedial

            measures to avoid future derailments.

            94.   Norfolk Southern breached its duties to Plaintiffs and Class members in at

least the following ways:

                  a.     Failing to operate, maintain, inspect, and/or repair the railway and

            railcars to ensure their safety and proper operation;

                  b.     Failing to ensure alarms and other systems for monitoring

            malfunctions of the railway to prevent derailments;

                  c.     Failing to ensure proper safety procedures in the event of a

            mechanical malfunction of equipment;

                  d.     Failing to ensure proper mechanism for stopping malfunctioning

            railcars without derailment;




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                   e.      Failing to avoid overloading the train with excessive railcars or

            materials;

                   f.      Failing to load the railcars consistent with accepted practice;

                   g.      Failing to load the railcars to avoid placements of heavier cars in the

            rear, with particular consideration to whether the planned route is downhill;

                   h.      Failing to have an adequate number of staff on board for purposes of

            planning, coordinating, overseeing, and monitoring transport;

                   i.      Failing to hire, train, manage, and supervise agents and employees

            (including the train engineer and dispatcher operating the train at the time of the

            trainwreck);

                   j.      Failing to properly determine the qualifications and capabilities of

            agents and employees (including the train engineer and dispatcher operating the

            train at the time of the trainwreck);

                   k.      Failing to properly determine the adequacy and skill of agents and

            employees (including the train engineer and dispatcher operating the train at the

            time of the trainwreck);

                   l.      Failing to ensure that agents and employees (including the train

            engineer and dispatcher operating the train at the time of the trainwreck) were

            properly and adequately instructed and trained;

                   m.      Failing to properly instruct and adequately train agents and

            employees (including the train engineer and dispatcher operating the train at the

            time of the trainwreck) concerning safety and emergency procedures in the event

            of a possible derailment;




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                  n.      Failing to route railcars to avoid populated areas in order to

            minimize the risk of accidental exposure to hazardous materials;

                  o.      Failing to adequately warn those in danger of exposure to hazardous

            materials;

                  p.      Failing to institute proper procedures and training for response to

            mechanical malfunction of a railcar;

                  q.      Failing to institute proper procedures and alarms to identify and

            address fire on a railcar containing hazardous materials;

                  r.      Failing to institute proper procedures and training to deploy the

            emergency brake in the event of a mechanical malfunction;

                  s.      Failing to institute proper procedures and training to deploy the

            emergency brake in the event of a fire on a railcar containing hazardous materials;

                  t.      Failing to institute proper procedures and training for response to

            derailment;

                  u.      Failing to institute proper procedures for timely notifying

            governmental authorities of a derailment;

                  v.      Failing to institute proper procedures in the event of a derailment to

            avoid exposing the environment to hazardous materials;

                  w.      Failing to timely implement an emergency-response plan in the

            event of a derailment;

                  x.      Failing to transport and handle dangerous chemicals so as not to

            cause harm to Plaintiffs and the Classes, as Plaintiffs and the Classes were

            foreseeable victims located within the zone of danger of Norfolk Southern’s

            misconduct;



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                  y.     Failing to properly dispose of or otherwise eliminate the hazardous

            materials from the derailment site, including avoiding the use of techniques that

            further exposed Plaintiffs and the Class members to phosgene and hydrogen

            chloride during a vent and burn of vinyl chloride;

                  z.     Failing to timely evacuate an appropriate geographic region to avoid

            exposing individuals to toxic substances and causing injury;

                  aa.    Failing to accurately advise of the risk of catastrophic injury and

            illness from exposure to hazardous chemicals to persons at risk of exposure (both

            inside and outside the actual evacuation zone);

                  bb.    Failing to contain the spread of hazardous chemicals and by-

            products—including vinyl chloride, butyl acetate, benzene, phosgene, hydrogen

            chloride, and other combustible liquids—into the air, water, and soil;

                  cc.    Failing to investigate the causes of its disproportionate number of

            derailments relative to its competitors and implement appropriate remedial

            measures to avoid future derailments;

                  dd.    Failing to reasonably pack, transport, maintain, dispose of, or

            otherwise handle hazardous substances—including vinyl chloride, butyl acetate,

            benzene, phosgene, hydrogen chloride, and other combustible liquids; and

                  ee.    Otherwise unreasonably causing injury to Plaintiffs and the Class

            members in ways further investigation and discovery will reveal.

            95.   Norfolk Southern owed and breached a duty of reasonable care

commensurate with the risk of transporting hazardous materials, which it had previously

blocked shareholder efforts to monitor and improve.




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            96.    Norfolk Southern owed and breached a duty of reasonable care

commensurate with the release and burning of hazardous chemicals, including the

resultant release of phosgene and hydrogen chloride into the air, water and soils.

            97.    Given the significant likelihood of contamination of neighboring areas and

exposure to their residents, Norfolk Southern had a duty to investigate the extent to which

the “vent and burn” of hazardous material was likely to contaminate the air, water, and

soil to levels that would materially increase residents’ risk of developing cancer and other

latent diseases.

            98.    The damages sustained by Plaintiffs and the Class members were caused or

exacerbated by the fact that Norfolk Southern failed to take necessary actions to mitigate

the dangers associated with its operations.

            99.    As a direct and proximate result of Norfolk Southern’s release of hazardous

materials throughout a 30-mile radius of the derailment site, Plaintiffs’ and Class

members’ properties were, and are, being physically invaded by Norfolk Southern’s toxic

discharges.

            100.   As a direct and proximate result of Norfolk Southern’s negligence, Plaintiffs

and Class members suffered property damages as alleged herein, including physical

injury to their property; as corroborated by the presence of odor, visible mists and

droplets on properties, and residents’ health symptoms, including nausea, headaches,

vomiting, dizziness, light-headedness, and nosebleeds; as well as by meteorological and

atmospheric analysis of the toxic plume invading residential, commercial, and

agricultural properties.

            101.   Norfolk Southern’s toxic discharges on Plaintiffs’ and Class members’

properties forced Plaintiffs and many Class members to relocate to avoid the toxic



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invasion. The displacement, inconvenience, and relocation of residents were a direct and

proximate result of Norfolk Southern’s negligence.

            102.   As a direct and proximate result of Norfolk Southern’s negligence, Plaintiffs

and Class members suffered and will continue to suffer the loss of the quiet use and

enjoyment of their properties as well as enjoyment of public properties in their

communities.

            103.   As a direct and proximate result of Norfolk Southern’s negligence, Plaintiffs

and Class members have suffered legal injury and damages, in an amount to be proven at

trial, including, but not limited to, property damage, diminution of value of real estate,

the cost to repair the damage and restore the property to its condition prior to the

trainwreck and toxic discharges, plus the value of their lost use of the property as a result

of Norfolk Southern’s negligence.

            104.   Plaintiffs and the Class members suffer and will continue to suffer

decreased property values, damage to their real and personal property, lost wages, loss of

business income, and loss of business goodwill.

            105.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                   Claim 2: Strict Liability for Ultrahazardous Activities

            106.   All allegations and paragraphs in this complaint are incorporated by

reference.

            107.   At all times relevant to this action, Norfolk Southern was the owner and

operator of Norfolk Southern Freight Train 32N.




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            108.   At all times relevant to this action, Norfolk Southern had supervision,

custody, and control of Norfolk Southern Freight Train 32N.

            109.   At all times relevant to this action, Norfolk Southern was under a continuing

duty to protect the Plaintiffs and the Class from the hazardous chemicals and materials.

            110.   Norfolk Southern engaged in ultrahazardous activities by transporting

hazardous chemicals and toxic pollutants.

            111.   Norfolk Southern is responsible for the harm to Plaintiffs, their land, and

their property resulting from its ultrahazardous activity, regardless of whether it

exercised the utmost care to prevent the harm. See Restatement (Second) of Torts §§ 519–

520.

            112.   Plaintiffs and the Class have suffered harm from Norfolk Southern’s toxic

discharges emanating from Norfolk Southern’s trainwreck. The injuries sustained by

Plaintiffs and the Class members as a result of the toxic discharge of hazardous chemicals

that was the direct and proximate result of Norfolk Southern’s activities.

            113.   The harm to Plaintiffs and the Class members was and is the kind of harm

that would be reasonably anticipated as a result of the risks created by transporting

hazardous and toxic chemicals in close proximity to residential, commercial, and

agricultural areas.

            114.   Norfolk Southern’s operations and resulting toxic discharges were and

remain substantial factors in causing the harms suffered by Plaintiffs and the Class

members.

            115.   Additionally, Norfolk Southern was aware that its failure and/or disregard

for having established plans, processes, and/or protocols for preventing and

appropriately responding to the toxic discharge of hazardous chemicals would lead to the



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probable dangerous consequence of a sustained catastrophic event and harm or injury to

the health and safety of Plaintiffs and their community.

            116.   As a direct and proximate result of Norfolk Southern’s ultrahazardous

activities, Plaintiffs and the Class members suffer and will continue to suffer decreased

property values, damage to their real and personal property, lost wages, loss of business

income, and loss of business goodwill.

            117.   In failing to take protective measures to safeguard against the dangers,

Norfolk Southern acted with a willful and/or knowing disregard of the probable

dangerous, and/or acted with an awareness of the probable dangerous consequences of

their conduct and deliberately failed to avoid those consequences, thereby creating a

substantial risk of injury to Plaintiffs and the community of residents living near the

trainwreck. Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights. Plaintiffs are entitled to punitive and exemplary damages in an amount to be

ascertained, which is appropriate to punish or set an example of Norfolk Southern and

deter such behavior by it and others in the future.

                                      Claim 3: Trespass

            118.   All allegations and paragraphs in this complaint are incorporated by

reference.

            119.   Norfolk Southern knew or should have known that the hazardous chemicals

it transported, released, and intentionally ignited were dangerous and harmful to people,

animals, and real and personal property. It was substantially certain that the emission,

discharge, disposal, distribution, spread, or release of these toxic substances would injure

Plaintiffs and their property.



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            120.   Norfolk Southern intentionally, knowingly, negligently, carelessly, and/or

recklessly caused a trespass in the following manners: i) by discharging through the

trainwreck and resulting fires pollutants, particulates, oily residue, and chemicals, such

as vinyl chloride, butyl acrylate, ethylhexyl acrylate, isobutylene, ethylene glycol

monobutyl ether, diethylene glycol, carbon monoxide, hydrogen sulfide, hydrogen

cyanide, and benzene and other unknown chemicals and matter into the air, water, and

soils; and ii) by allowing or causing such chemicals to discharge, seep, or migrate

underground in such a manner that it was reasonably foreseeable that the toxic material

would, in due course, invade Plaintiffs’ and Class members’ real property and cause

physical injury to that property. Collectively, these discharges, seepage, and migration are

referred to herein as “Norfolk Southern’s Toxic Discharges.”

            121.   Norfolk Southern’s Toxic Discharges invaded the real property of Plaintiffs

and the Class, and interfered with their possessory interests of that property.

            122.   Norfolk Southern’s Toxic Discharges onto the real property of Plaintiffs and

the Class members caused physical damage to their property by casting over their

property a plume of offensive emissions, pollutants, depositing chemical residue on their

homes, yards businesses, and farms, causing damage to their trees and landscaping, and

invading their real property with a nauseating smell over a continuous and sustained

period of time.

            123.   Norfolk Southern’s Toxic Discharges caused Norfolk Southern to enter,

invade, and intrude on the real properties of Plaintiffs and the Class members without

their privilege, permission, consent, authorization, invitation, or justification.

            124.   Additionally, Norfolk Southern, through its activities alleged above,

authorized, requested, or caused others to dispose of waste in a manner that it knew was



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substantially likely to cause hazardous materials to enter and contaminate Plaintiffs’

properties. Through its actions in intentionally causing others to spread its waste, Norfolk

Southern intentionally, knowingly, and negligently caused hazardous materials to invade

Plaintiffs’ properties.

            125.   Norfolk Southern was aware that its Toxic Discharges were contrary to

Plaintiffs’ and Class members’ rights in their properties.

            126.   Norfolk Southern’s conduct displayed indifference to and disregard for

Plaintiffs’ rights to their land.

            127.   Norfolk Southern’s intentional, knowing, and negligent contamination, and

continuing contamination, of Plaintiffs’ and the Class members’ real and personal

property with hazardous materials has interfered with their rights to use and enjoy their

property and constitutes trespass and continuing trespass. Norfolk Southern’s trespass

has substantially impaired Plaintiffs’ rights in the use and enjoyment of their property as

well as economic and property damages as alleged.

            128.   Norfolk Southern’s trespass has also interfered with and continues to

interfere with Plaintiffs’ and the Class members’ ability to enjoy their property, to avail

themselves of their property’s value as an asset and/or source of collateral for financing,

and to use their property in the manner that Plaintiffs and the Class members so choose.

            129.   As a direct and proximate result of Defendants' trespass, Plaintiffs and Class

members have suffered legal injury and damages, in an amount to be proven at trial,

including, but not limited to, property damage, diminution of value of real estate, the cost

to repair the damage and restore the property to its pre-trespass condition, the costs of

recovering possession of the property, business losses, and the value of their lost use of

the property as a result of all trespass and for Norfolk Southern’s ongoing trespass



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            130.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                                Claim 4: Trespass to Chattels

            131.   All allegations and paragraphs in this complaint are incorporated by

reference.

            132.   Plaintiffs and the Class members had a possessory interest in all of their

personal property, including but not limited to personal vehicles, commercial vehicles,

household goods, professional equipment, recreational equipment, livestock, and pets.

            133.   Norfolk Southern’s Toxic Discharges impaired the condition, quality,

and/or value of Plaintiffs’ and the Class members’ personal property.

            134.   Through the acts and omissions described above, Norfolk Southern

deprived Plaintiffs and the Class members of the use of their personal property for a

substantial time.

            135.   Through the acts and omissions described above, Norfolk Southern caused

harm to personal property in which Plaintiffs and the Class members had a legally

protected interest.

            136.   As a direct and proximate result of Norfolk Southern’s misconduct,

Plaintiffs and the Class members suffer and will continue to suffer decreased property

values, damage to their personal property, lost wages, loss of business income, and loss

of business goodwill.

            137.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members

rights so as to warrant imposing punitive damages



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                                  Claim 5: Private Nuisance

            138.   All allegations and paragraphs in this complaint are incorporated by

reference.

            139.   Norfolk Southern’s Toxic Discharges have created a condition that is

harmful to health and interferes with the comfortable enjoyment of life and property.

            140.   Norfolk Southern knew or should have known that the hazardous chemicals

it was transporting (and their byproducts if ignited) were hazardous to human beings and

real property, and that it was substantially certain that improper transportation,

handling, and disposal of such materials would injure Plaintiffs and their property.

            141.   Norfolk Southern’s trainwreck and Toxic Discharges would reasonably

annoy and disturb an ordinary person, as shown by, for example, the community outrage

in response to Norfolk Southern’s Toxic Discharges, and the nationwide interest in the

impact of the trainwreck on Plaintiffs and the Class, as well as on the local environment.

            142.   The seriousness and gravity of the harm associated with Norfolk Southern’s

Toxic Discharges outweigh the public benefit of Norfolk Southern’s conduct. There is no

social utility associated with the release of literally millions of pounds of toxins into a

residential, commercial, and agricultural environment.

            143.   Plaintiffs and the Class members suffered and continue to suffer a harm and

injury to their residential, commercial, and agricultural properties to which they did not

consent and which is different from the type of harm suffered by the general public.

            144.   Norfolk Southern’s contamination of Plaintiffs’ property with toxic

substances has unreasonably and substantially interfered with Plaintiffs’ rights to use and

enjoy their property. It has caused Plaintiffs to refrain from using or occupying their

property. It has caused Plaintiffs to refrain from using contaminated water for drinking,



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cooking, bathing, irrigation, or watering livestock. This has caused significant loss of

income, out-of-pocket expense, and inconvenience.

            145.   Norfolk Southern’s actions have also substantially interfered with Plaintiffs’

ability to enjoy their property, avail themselves of their property’s value as an asset or

source of collateral for financing, or to use their property in the manner that they so

choose. It has also caused a reduction in the value of their land.

            146.   Norfolk Southern’s actions described above were unreasonable and

constitute invasion of Plaintiffs’ property rights.

            147.   Plaintiffs and the Class members, unlike the public generally, have suffered

specific injuries as a result of Norfolk Southern’s tortious conduct including the

contamination of their land and water.

            148.   Norfolk Southern’s improper transportation and handling of toxic

chemicals, and the contamination of Plaintiffs’ property resulting therefrom, constitutes

a private nuisance.

            149.   Plaintiffs and the Class members suffer and will continue to suffer

decreased property values, damage to their real and personal property, lost wages, loss of

business income, and loss of business goodwill.

            150.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                                   Claim 6: Public Nuisance

            151.   All allegations and paragraphs in this complaint are incorporated by

reference.




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            152.   Norfolk Southern’s Toxic Discharges have created conditions that are

harmful to health and interfere with the comfortable enjoyment of life and property. As a

result of Norfolk Southern’s actions and inactions, Plaintiffs have suffered a permanent

loss of use and enjoyment of their property.

            153.   Norfolk Southern knew or should have known that the hazardous chemicals

it was transporting (and their byproducts if ignited) were hazardous to human beings and

real property. It was substantially certain that improper transportation, handling, and

disposal of such materials would injure people in the surrounding communities.

            154.   Plaintiffs and the Class members have a common right to enjoy their real

property free from dangerous contamination, to breathe clean air, have access to clean

running water without dangerous levels of toxic chemicals, and to live their lives without

unreasonable exposure to toxic chemicals.

            155.   Norfolk Southern, through its negligent, reckless, or intentional acts and

omissions described above, substantially and unreasonable infringed upon and

transgressed these public rights.

            156.   As a direct and proximate result of Norfolk Southern’s improper

transportation and handling of toxic chemicals, Plaintiffs’ and the general public’s

common right to breathe clean air and have access to clean water without dangerous

levels of toxic chemicals was severely diminished, if not entirely eliminated.

            157.   As a direct and proximate result of Norfolk Southern’s Toxic Discharges,

Norfolk Southern invaded and contaminated the areas surrounding Plaintiffs’ and the

Class members’ residences and businesses, thus exposing them to toxic chemicals and

carcinogens.




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            158.   Defendants’ Discharges also affect and continue to affect the public at large,

causing massive environmental damage to the surrounding area.

            159.   Defendants’ conduct is a substantial factor in causing Plaintiffs and the

Class, to suffer and to continue to suffer harm, injury, and losses, including physical injury

to property, loss of use and enjoyment of their property, and diminution in property

values, lost wages, loss of business income, and loss of business goodwill.

            160.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                                  Claim 7: Statutory Nuisance

            161.   All allegations and paragraphs in this complaint are incorporated by

reference.

            162.   Section 112 of the federal Clean Air Act includes vinyl chloride in the list of

hazardous air pollutants and sets a national emission standard. 41 Fed. Reg. 46560.

            163.   Under the Pennsylvania Air Pollution Control Act, 35 P.S. § 4006.6, it is

forbidden to emit air pollutants of hazardous materials in amounts greater than those set

by the Clean Air Act. Any violation of the PAPCA constitutes a public nuisance and “[a]ny

person who causes the public nuisance shall be liable for the cost of abatement.” 35 P.S. §

4013.

            164.   Under Ohio Rev. Code § 3704.03, “no person shall cause, permit, or allow

emission of an air contaminant in violation of any rule adopted by the director of

environmental protection”

            165.   Norfolk Southern’s trainwreck, fire, intentional ignition of vinyl chloride,

and resulting Toxic Discharges emitted dangerous amounts of vinyl chloride and other



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hazardous chemicals into the air in and surrounding the properties of Plaintiffs and the

Class members.

            166.   As a direct and proximate result of Norfolk Southern’s acts and omissions

described above, Plaintiffs and the Class members have had their bodies and property

exposed to hazardous air pollutants in violation of Pennsylvania, Ohio, and federal law.

            167.   Plaintiffs’ and the Class members’ exposure to the toxic chemicals resulting

from Norfolk Southern’s Toxic Discharges caused Plaintiffs and the Class members to

suffer and continue to suffer harm, injury, and losses, including physical injury to

property, loss of use and enjoyment of their property, and diminution in property values,

lost wages, loss of business income, and loss of business goodwill.

            168.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                         Claim 8: Wanton and Willful Misconduct

            169.   All allegations and paragraphs in this complaint are incorporated by

reference.

            170.   Norfolk Southern had a duty to Plaintiffs and the Class members to refrain

from wanton or willful misconduct.

            171.   On information and belief, Norfolk Southern was aware that it was

transporting substances that were highly toxic, carcinogenic, or otherwise harmful to

human beings, animals, and the environment.

            172.   On information and belief, Norfolk Southern was aware that transporting,

releasing, and igniting substances that were highly toxic, carcinogenic, or otherwise




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harmful to human beings, animals, and the environment could result in unreasonably

dangerous emission of hazardous materials into the surrounding areas.

            173.   On information and belief, Norfolk Southern knew or should have known

that at least one railcar was malfunctioning and/or on fire for at least 20 miles before the

trainwreck.

            174.   Despite its knowledge, and contrary to federal and standard industry

practices and procedures, Norfolk Southern breached its duties as described in Claim 1

above.

            175.   Through its actions and omissions described above, Norfolk Southern failed

to exercise any care toward Plaintiffs and the Class members, to whom it owed a duty of

reasonable care. This failure to exercise any care occurred under circumstances for which

the probability of harm was great and the probability of harm was known to Norfolk

Southern.

            176.   Through its actions and omissions described above, Norfolk Southern

intentionally deviated from a clear duty or definite rule of conduct, acted with a deliberate

purpose not to discharge a duty necessary to safety, or purposely performed wrongful acts

with knowledge and appreciation of the likelihood of resulting injury.

            177.   As a direct and proximate result of Norfolk Southern’s wanton and willful

misconduct, Plaintiffs and the Class members have suffered and continue to suffer harm,

injury, and losses, including physical injury to property, loss of use and enjoyment of their

property, and diminution in property values, lost wages, loss of business income, and loss

of business goodwill.




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            178.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members’

rights so as to warrant imposing punitive damages.

                   Claim 9: Inducing Panic through Disorderly Conduct
                   under Ohio Rev. Code §§ 2307.60, 2917.31, and 2917.11

            179.   All allegations and paragraphs in this complaint are incorporated by

reference.

            180.   Ohio Rev. Code § 2917.31(A)(3) provides that “[n]o person shall cause the

evacuation of any public place, or otherwise cause serious public inconvenience or alarm,

by doing any of the following: . . . [c]ommitting any offense, with reckless disregard of the

likelihood that its commission will cause serious public inconvenience or alarm.”

            181.   Ohio Rev. Code § 2917.11(A)(4) prohibits “[h]indering or preventing the

movement of persons on a public street, road, highway, or right-of-way, or to, from,

within, or upon public or private property, so as to interfere with the rights of others, and

by any act that serves no lawful and reasonable purpose of the offender.”

            182.   Ohio Rev. Code § 2917.11(A)(5) prohibits “[c]reating a condition that is

physically offensive to persons or that presents a risk of physical harm to persons or

property, by any act that serves no lawful and reasonable purpose of the offender.”

            183.   Through the acts and omissions described above, Norfolk Southern induced

panic through disorderly conduct.

            184.   Norfolk Southern had no lawful or reasonable purpose in derailing the train.

            185.   Norfolk Southern had no lawful or reasonable purpose in releasing and

igniting thousands of pounds of toxic chemicals into the environment.




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            186.   Under Ohio Rev. Code § 2307.60(A)(1), “Anyone injured in person or

property by a criminal act has, and may recover full damages in, a civil action unless

specifically excepted by law, may recover the costs of maintaining the civil action and

attorney's fees if authorized by any provision of the Rules of Civil Procedure or another

section of the Revised Code or under the common law of this state, and may recover

punitive or exemplary damages if authorized by section 2315.21 or another section of the

Revised Code.”

            187.   As a direct and proximate result of Norfolk Southern’s unlawful actions in

derailing the Freight Train and causing the Toxic Discharges, Plaintiffs and the Class

members suffered and continue to suffer harm, injury, and losses, including physical

injury to property, loss of use and enjoyment of their property, and diminution in property

values, lost wages, loss of business income, loss of business goodwill.

            188.   Norfolk Southern’s conduct shows that it acted maliciously, with aggravated

or egregious fraud, and/or intentionally disregarded Plaintiffs’ and the Class members

rights so as to warrant imposing punitive damages.

                         Claim 10: Injunctive and Equitable Relief

            189.   All allegations and paragraphs in this complaint are incorporated by

reference.

            190.   An actual, justiciable controversy exists between Plaintiff and the Class

members and Norfolk Southern. A judgment from this Court regarding these issues would

afford relief from uncertainty and insecurity with respects to rights, status, and other legal

relations of the parties.

            191.   Norfolk Southern had and has a duty to use reasonable care not to enter,

invade, or intrude on Plaintiffs’ or Class members’ real property. Norfolk Southern also



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owed a duty to Plaintiffs and members of the Class to exercise reasonable care in

transporting hazardous chemicals and toxic pollutants.

            192.   Norfolk Southern breached these duties by negligently, wantonly,

carelessly, and/or recklessly failing to maintain and operate its Freight Train and failing

to promptly contain the hazardous spill. These breaches caused Norfolk Southern’s Toxic

Discharges, which led to physical injuries to Plaintiffs’ and Class members’ properties.

            193.   Plaintiffs and Class members have an adverse legal interest to Norfolk

Southern. This adverse interest and the controversy that exists between the parties can be

resolved through the specific relief sought.

            194.   Wherefore, Plaintiffs, on behalf of themselves and the Class members,

requests that the Court issue an Order requiring Norfolk Southern to establish and

implement comprehensive testing and cleanup protocols for residential, commercial, and

agricultural properties within a thirty-mile radius of the derailment site contaminated by

Norfolk Southern’s Toxic Discharges. Plaintiffs request that testing and cleanup protocols

be sufficient to detect and remediate elevated levels of vinyl chloride, butyl acrylate,

ethylhexyl acrylate, isobutylene, ethylene glycol monobutyl ether, diethylene glycol,

carbon monoxide, hydrogen sulfide, hydrogen cyanide, and benzene on Plaintiffs’ and

Class members’ properties, and in the soils and waters surrounding Plaintiffs’ and Class

members’ properties.

                               Claim 11: Medical Monitoring

            195.   All allegations and paragraphs in this complaint are incorporated by

reference.




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            196.   As described above, Plaintiffs and the Class members have been exposed to

substantial quantities of toxic chemicals and hazardous substances—including known

carcinogens—as a result of the trainwreck and its aftermath.

            197.   As a direct and proximate result of this exposure to the Toxic Discharges,

Plaintiffs and Class members have a significantly increased risk of developing cancer and

other latent diseases, making periodic diagnostic medical testing reasonably necessary.

            198.   Early diagnosis of cancer and other diseases provide significant value for

Class members because it will help monitor and minimize the harm caused by Norfolk

Southern’s misconduct and provide Class members the ability to monitor diseases caused

by Northern Southern’s misconduct.

            199.   Monitoring procedures exist that make early detection of cancers and other

latent disease possible and beneficial. These monitoring procedures are different from the

tests and procedures that are normally recommended in the absence of toxic exposures

and are reasonably necessary due to the Class members’ exposures to the toxic substances

released by the train.

            200. Medical monitoring to facilitate early detection of these diseases is

necessary to protect the health and well-being of Plaintiffs and Class members. Periodic

physical examinations and diagnostic testing will reduce the risk of severe illness and

allow early medical intervention to address detected problems early in the disease

process, improving the chances for survival and the long-term well-being of those

affected.

            201.   The exposure to toxic chemicals, in particular vinyl chloride, requires the

establishment of a comprehensive medical-monitoring program to ensure that the harms

occasioned by Norfolk Southern’s misconduct are mitigated to the extent possible.



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            202.   Plaintiffs assert no claims for physical manifestation of bodily injury arising

from the trainwreck and its aftermath and have no adequate remedy at law. Declaratory,

injunctive, or other equitable relief is thus appropriate.

            203.   Plaintiffs request injunctive relief in the form of a Court-supervised

medical-monitoring program funded by Norfolk Southern. The specifics of the medical-

monitoring program is a subject for the Court to determine, following a hearing. The

program should, at a minimum, require:

                   a.     Norfolk Southern to notify those who have been exposed to vinyl

            chloride and other toxic substances of the fact of their exposure and the need for

            periodic testing and examination;

                   b.     Comprehensive detection and treatment options for injuries caused

            by exposure to the toxic substances Norfolk Southern caused to be released into

            the air, water, and soil in the area around the derailment site;

                   c.     Monitoring of all Class members by designated treating physicians;

                   d.     Provision by Norfolk Southern to those designated treating

            physicians of information related to the diagnosis and treatment of the injuries

            that exposure to vinyl chloride and other toxic substances may cause;

                   e.     Collection of medical data for group studies in addition to the

            monitoring and treatment of individuals; and

                   f.     Norfolk Southern to address issues implicated by program

            administration as they develop.

            204.   The cost of the monitoring fund can be reserved for the exclusive purpose

of mitigating the ill health effects Norfolk Southern has caused through its acts and

omissions, thus ensuring the equitable use of such monies. This is an appropriate use of



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the Court’s injunctive powers and can be managed by a Court-appointed special master

or trustee.

            205.   Plaintiffs and the Class should be awarded the quantifiable costs of such a

monitoring regime.


                                     REQUEST FOR RELIEF

            Plaintiffs, individually and on behalf of all others similarly situated, request

judgment against Defendants as follows:

            A.     For an order certifying the Classes and appointing Plaintiffs as

representatives of the Classes and appointing the lawyers and law firms representing

Plaintiffs as counsel for the Classes;

            B.     For all recoverable compensatory, statutory, and other damages, including

remediation costs, sustained by Plaintiffs and the Classes, including all relief allowed

under applicable laws;

            C.     For payment of attorneys’ fees and expenses as may be allowable under

applicable law;

            D.     For both pre-judgment and post-judgment interest on any amounts

awarded;

            E.     For punitive damages, according to proof;

            F.     For injunctive and declaratory relief, as allowed by law; and

            G.     Such other and further relief as this Court may deem just and proper.


                                  DEMAND FOR JURY TRIAL

            Plaintiffs hereby demand a trial by jury on all issues so triable.




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Dated: February 20, 2023          Respectfully submitted,

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